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      Thomas P. Tuttle and Catherine M. Tuttle,
  8   Trustees of The Tuttle 2000 Living Trust
      dated 11/22/00
  9

 10                            UNITED STATES BANKRUPTCY COURT

 11                     NORTHERN DISTRICT OF CALIFORNIA, DIVISION 5

 12
       In re:                                           Case No. 17-52444-SLJ
 13
       VICTOR BATINOVICH,                               Chapter 11
 14
                                                      Date: January 10, 2018
 15                                                   Time: 10:30 a.m.
                                              Debtor. Courtoom: 3099
 16

 17     AMENDED LIMITED OPPOSITION TO MOTION TO DISMISS CHAPTER 11 CASE

 18             Comes now Secured Creditor Thomas P. Tuttle and Catherine M. Tuttle,

 19   Trustees of The Tuttle 2000 Living Trust dated 11/22/00 (“Tuttle”) and files this limited

 20   opposition to the Debtor’s motion to dismiss chapter 11 case:

 21             1.    By way of background, this is the second bankruptcy case that the Debtor

 22   has filed. The first bankruptcy case was filed by the Debtor under chapter 13 as Case

 23   #17-52027, which was filed on August 23, 2017 and dismissed on September 21, 2017

 24   due to the Debtor’s failure to file required schedules, statement of financial affairs and

 25   other required pleadings after having received an order at the Debtor’s request

 26   extending the deadline for filing such documents from the Court (in Case #17-52027,

 27   see docket #8, Order on Request For Extension to File Documents and docket #14,

 28   Order and Notice of Dismissal for Failure to Comply, copies of which are attached to

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  1   the Declaration of Julie Rome-Banks filed concurrently herewith as Exhibits “A” and “B”

  2   respectively and incorporated herein by reference). Accordingly, this second individual

  3   bankruptcy case is presumed to be filed in bad faith and the Debtor bears the burden of

  4   proof to rebut such presumption by clear and convincing evidence if the Court was to

  5   extend the automatic stay beyond the 30 day period provided by statute.

  6          2.      This second bankruptcy case was filed under chapter 11 on October 5,

  7   2017. The Debtor attempted in this second bankruptcy case to extend the automatic

  8   stay beyond the 30 day period provided in 11 U.S.C. §362(a)(3) by filing a motion which

  9   Tuttle opposed. However, the Debtor did not timely file his motion to extend the

 10   automatic stay, did not set that motion to extend the automatic stay for a hearing and as

 11   a result the automatic stay terminated as a matter of law on November 4, 2017. The

 12   Debtor then sought a temporary restraining order or to reimpose the automatic stay

 13   against Tuttle by filing an Adversary Proceeding (Adversary Proceeding No. 17-5088)

 14   on November 6, 2017, however relief therein was summarily denied by the Court by

 15   written order entered on November 7, 2017. True and correct copies of Tuttle’s

 16   opposition to the Debtor’s motion to extend the automatic stay and the Court’s order

 17   denying relief in the Debtor’s adversary proceeding are attached as Exhibits “C” and “D”

 18   respectively to the Declaration of Julie Rome-Banks and are incorporated herein by

 19   reference.

 20          3.      Finally free of the automatic stay in this second bankruptcy case, the

 21   foreclosing trustee was scheduled to conduct a trustee’s foreclosure sale on November

 22   9, 2017 on behalf of Tuttle. However, on November 8, 2017, the wife of the Debtor, Ann

 23   Batinovich, filed a chapter 13 petition in this Court which is currently pending as case

 24   #17-52709-SLJ. Said petition was filed on behalf of Ann Batinovich as a skeleton filing

 25   without schedules or a statement of financial affairs and without a proposed chapter 13

 26   plan. None of these required pleadings has been filed by Ann Batinovich as of the date

 27   of the filing of this Limited Opposition. In addition, no notice of the Ann Batinovich

 28   bankruptcy case was provided prior to the trustee’s foreclosure sale. The voluntary

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  1   petition by Ann Batinovich failed to include Tuttle as a creditor for purposes of receiving

  2   notice, nor did it include Tuttle’s bankruptcy counsel of record who had previously

  3   appeared in the two bankruptcy cases involving the Debtor herein. Tuttle only became

  4   aware of the Ann Batinovich bankruptcy case out of an abundance of caution on the

  5   part of his bankruptcy counsel who had anticipated a possible bankruptcy filing by Ann

  6   Batinovich following the events described above regarding the termination of the

  7   automatic stay in this the Second Victor Batinovich Case. Therefore Attorney Rome-

  8   Banks was routinely checking the PACER electronic docket before Tuttle conducted his

  9   scheduled trustee’s foreclosure sale scheduled for November 9, 2017 at 10:00 a.m. At

 10   approximately 8:40 a.m. on November 9, 2017, counsel for Tuttle discovered the Ann

 11   Batinovich bankruptcy case had been filed by searching for her name on PACER and

 12   as a result, instructed the foreclosing trustee to continue a foreclosure sale which would

 13   have otherwise occurred due to lack of notice of the bankruptcy case to Tuttle or to the

 14   foreclosing trustee under Tuttle’s junior deed of trust described below. Notably, every

 15   time Tuttle must continue the foreclosure sale due to a bankruptcy case being filed,

 16   Tuttle incurs additional foreclosure fees.

 17          4.      The Debtor herein argues in support of dismissal that the purpose for

 18   going forward with a Chapter 11 Plan and Disclosure Statement was to “mainly

 19   reorganize his debt and retain his residence.” Debtor contends that since he is no

 20   longer protected by the automatic stay, Chapter 11 is of no assistance to him and

 21   therefore he wants to dismiss this chapter 11 case. The Debtor’s declaration offering

 22   the only evidence in support of his dismissal motion is remarkably short in this regard.

 23          5.      While it may be true that dismissal of this bankruptcy case is in the best

 24   interest of creditors, it cannot be fairly said that the Debtor is no longer protected by the

 25   automatic stay even if this case is dismissed. Rather, the Debtor is receiving a direct

 26   benefit by the automatic stay as a result of the latest bankruptcy petition filed by his

 27   wife, Ann Batinovich, which was filed on November 8, 2017.

 28          6.      The multiple, successive bankruptcy cases filed by the Debtor and his

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  1   wife are exactly the type of bad faith filings that Congress had in mind when it amended

  2   the Bankruptcy Code in 2005 to add the provisions of 11 U.S.C. §362(c)(3) and (c)(4).

  3   When considering dismissal under 11 U.S.C. §349(a) in contrast to relief from stay, the

  4   Court in its discretion may consider precluding additional filings in such circumstances.

  5   This includes consideration for the totality of the circumstances, including the debtor’s

  6   history of prior bankruptcy filings, whether there were misrepresentations made,

  7   whether the debtor intended to defeat state court litigation or stop a foreclosure sale, or

  8   whether other egregious behavior is present. See generally, In re Van Ness, 399 B.R.

  9   897 (Bkrtcy. E.D. Cal. 2009). In addition, when considering a request for dismissal, the

 10   Bankruptcy Code states that:

 11          “Notwithstanding any other provision of this section, no individual or family
             farmer may be a debtor under this title who has been a debtor in a case
 12          pending under this title any time in the preceding 180 days if - (1) the case
             was dismissed by the court for willful failure of the debtor to abide by
 13          orders of the court, or to appear before the court in proper prosecution of
             the case; or (2) the debtor requested and obtained the voluntary dismissal
 14          of the case following the filing of a request for relief from the automatic
             stay provided by section 362 of this title.”
 15
      11 U.S.C. §109(g).
 16
             7.      The first case of the Debtor was dismissed due to failure to comply with
 17
      an order of the Court; an order which the Debtor specifically requested. Tuttle therefore
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      contends that the Debtor’s failure to comply with said order in the first bankruptcy case
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      was willful because the Debtor made a decision to not comply with that order and
 20
      allowed his first bankruptcy case to be dismissed.
 21
             8.      In this second bankruptcy case of the Debtor, Tuttle did not need to seek
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      relief from stay because the automatic stay terminated as a matter of law 30 days after
 23
      the voluntary petition was filed1. Notwithstanding, when considering the Debtor’s
 24

 25          1
              It was also unclear to Tuttle whether or not the Debtor was going to file
      bankruptcy schedules or a statement of financial affairs in this second bankruptcy case
 26   as a result of the Debtor seeking an extension of time to do so given the fact that the
      Debtor had followed a similar pattern of conduct in his first bankruptcy case. Tuttle
 27   therefore opposed that requested extension. Debtor’s counsel then filed a
      supplemental declaration and the Court ruled on the matter without a hearing (see
 28   docket #21). The Debtor eventually filed his bankruptcy schedules and statement of

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  1   motion to dismiss under Section 349(a), the Court may “order otherwise”, which has

  2   been interpreted to mean that the Court may dismiss a case with prejudice for cause.

  3   Arneson v. Farmers Ins. Exchange, 2005 Bankr. LEXIS 3416 , (9th Cir. BAP 2005).

  4   Thus, imposing a filing bar of 180 days, or even more when appropriate, is an

  5   appropriate order for the Court to make when considering a request for dismissal by an

  6   individual debtor.

  7          9.      While the facts in this case may not be as egregious as others that have

  8   come before courts in the Ninth Circuit in considering a refiling bar, the fact that the

  9   Debtor and his wife have engaged in multiple, sequential filings is a notable fact that the

 10   Court should consider in imposing a bar on future filings by the Debtor, as is the failure

 11   to provide notice to Tuttle of the most recent bankruptcy case by Ann Batinovich and

 12   the fact that the multiple filings by husband and wife have increased the foreclosure

 13   fees of Tuttle. See In re Craighead, 377 B.R. 648 (Bkrtcy. N.D. Cal. 2007, J.

 14   Weissbrodt) (3 year bar on refiling imposed); In re Sosa, 2017 Bankr. LEXIS 189

 15   (Bkrtcy. C.D. Cal. 2017) (1 year bar on refiling). Tuttle contends that a 180-day bar is

 16   the minimum that the Court should impose in granting the requested dismissal of the

 17   Debtor. However due to the facts presented by the cases of the Debtor, including the

 18   dismissal of the Debtor’s first case due to willfully disregarding an order of the Court,

 19   and the subsequent bankruptcy filing by Ann Batinovich, an appropriate filing bar should

 20   be 1 year.

 21          Wherefore, Tuttle prays as set forth herein and for such other and further relief

 22   as the Court deems just and proper.

 23   Dated: December 13, 2017                             BINDER & MALTER LLP

 24
                                                   By /s/ Julie H. Rome-Banks
 25                                                   Julie H. Rome-Banks
                                                      Attorneys for Secured Creditor
 26

 27
      financial affairs on October 26, 2017, some 21 days after his skeleton chapter 11
 28   petition was filed.

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